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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )
      v.                            )              Crim. Action No. 17-0201-01 (ABJ)
                                    )
PAUL J. MANAFORT, JR.,              )
                                    )
      Defendant.                    )
____________________________________)

                      ORDER TO CORRECT CLERICAL ERROR
                      IN MEMORANDUM OPINION AND ORDER

       Since the Court has discovered that its Memorandum Opinion and Order of May 15, 2018

[Dkt. # 298] should be amended to correct a clerical error, it is ORDERED that the phrase “Code

of Federal Register” on page 26 of the Memorandum Opinion and Order is revised to: “Code of

Federal Regulations.” A corrected Memorandum Opinion and Order will be docketed on this date.

       All other aspects of the Memorandum Opinion and Order entered on May 15, 2018 remain

unchanged.




                                           AMY BERMAN JACKSON
                                           United States District Judge

DATE: May 16, 2018




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